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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

TRICIA ANN BAYSINGER F/K/A                       §
TRICIA A. CRAWFORD,                              §
                                                 §
       Plaintiff,                                §
                                                 §   Civil Action No. ________________
v.                                               §
                                                 §   With Jury Demand Endorsed
BOUNCE ENERGY, INC.,                             §
                                                 §
       Defendant.                                §

                                         COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Plaintiff, Tricia Ann Baysinger f/k/a Tricia A. Crawford (“Plaintiff"), by and through

counsel, for her Complaint against Bounce Energy, Inc. (“Bounce” or “Defendant”), states as

follows:

                                       I. INTRODUCTION

       1.      Defendant engaged in willful and malicious actions against Plaintiff in furtherance

of its efforts to collect an unsecured debt from her which was legally uncollectible, during

Plaintiff’s active bankruptcy case and after the debt was discharged as to her personal liability,

such actions being an integral part of Defendant’s illegal design, implemented in its policies and

procedures, to profit by harassing unsophisticated debtors, collecting on debts included and

discharged as to the debtors’ personal liability in their respective bankruptcy cases, and selling

discharged debt to third party collectors, knowing such collectors will pursue in personam

collections on discharged debt.
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         2.     Plaintiff claims Defendant violated: 1) Tex. Fin. Code § 392.001 et. seq., known as

the Texas Debt Collection Act (“TDCA”); 2) Plaintiff’s common law privacy rights; and 3) 11

U.S.C. §§ 362 and 524(a), respectively, the bankruptcy automatic stay and discharge injunction.

Plaintiff seeks to recover from Defendant actual, statutory, and punitive damages, and legal fees

and expenses.

                                            II. PARTIES

         3.     Plaintiff is a natural person residing in Collin County, Texas and a "consumer," as

defined by the FCRA, 15 U.S.C. § 1681a(c); and the TDCA, Tex. Fin. Code § 392.001(1).

         4.     Defendant is a foreign corporation that may be served by delivering a summons to

its registered agent, Corporate Connections Network, Inc., 5444 Westheimer #1000, Houston, TX

77056.

         5.     Defendant is a “person,” a “creditor," "debt collector," and/or “third-party debt

collector” under the TDCA, Tex. Fin. Code §§ 392.001(3)(6) and (7).

         6.     The debt Defendant was attempting to collect from Plaintiff was a “consumer debt,”

as defined by Tex. Fin. Code § 392.001(2).

                                  III. JURISDICTION AND VENUE

         7.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1334

and 15 U.S.C. § 1681p.

         8.     Venue is proper this district, because Defendant transacts business in this district,

Plaintiff filed her bankruptcy case in this district, and the conduct complained of occurred in this

district.

                                   IV. FACTUAL ALLEGATIONS


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A.     The Subject Unsecured Debt Was Included in Plaintiff’s Bankruptcy Case and
       Discharged as to Her Personal Liability.

       9.     On October 25, 2012, Plaintiff filed for bankruptcy under Chapter 7 of the U.S.

Bankruptcy Code in case number 12-42865 (“Bankruptcy Case”) in the Eastern District of Texas

Bankruptcy Court (“Bankruptcy Court”).

       10.    On Schedule “F” filed with her bankruptcy petition, “SCHEDULE F –

CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS,” Plaintiff listed

Defendant as the creditor for a consumer credit account for an unsecured claim and debt.

       11.    A copy of Plaintiff’s Schedule “F” is attached hereto as Exhibit “A.”

       12.    On October 25, 2012, Plaintiff also filed in her Bankruptcy Case a mailing matrix

which provided Defendant's correct address.

       13.    On or about October 28, 2012, the Bankruptcy Noticing Center for the Bankruptcy

Court sent Defendant a copy of the "Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors

and Deadlines" (“341 Notice”) for the Bankruptcy Case, by first class mail, to Defendant. The 341

Notice provided notice that Plaintiff filed her Bankruptcy Case under Chapter 7 of the Bankruptcy

Code and warned all creditors in conspicuous language, against violating the automatic stay

imposed by 11 U.S.C. §362.

       14.    A true and correct copy of the 341 Notice is attached hereto as Exhibit “B.”

       15.    The 341 Notice, Official Form 9A, warned all creditors, in conspicuous language,

“Creditors Generally May Not Take Certain Actions” and “[p]rohibited collection actions are

listed in Bankruptcy Code 362. Also, it informed creditors, in relevant part, that “[c]ommon

examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to

demand repayment; taking actions to collect money …….”.

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        16.     The United States Postal Service did not return the 341 Notice sent to Defendant,

creating a presumption it was received.

        17.     On or about October 29, 2012, Defendant sent Plaintiff an e-mail demanding

payment on the Account, informing him there was a “Total Amount Due $242.56” and a “Payment

Due Date 11/14/2012,” including “Convenient Payment Options” and instructions on how to pay

online, by phone, by mail or in person. It also states, “[p]lease pay by your due date to avoid any

late fees or penalties.”

        18.     A redacted copy of the email correspondence Defendant sent to Plaintiff on or about

10/29/12 is attached hereto as Exhibit “C.”

        19.     On February 6, 2013, the Bankruptcy Court issued an order granting Plaintiff a

discharge ("Discharge Order"). The Discharge Order followed Official Form B18, including the

explanatory language contained therein. The Discharge Order discharged Plaintiff from any

liability for the debt created by the Account. Included with the Discharge Order was an explanation

of the general injunction prohibiting any attempt to collect discharged debts, warning all creditors,

in conspicuous language, that “Collection of Discharged Debts Prohibited” and that “a creditor

is not permitted to contact a debtor by mail, phone, or otherwise . . . or take any other action to

collect a discharged debt from the debtor.”

        20.     On February 8, 2013, the Bankruptcy Noticing Center mailed a copy of the

Discharge Order to Bounce Energy by first class mail. This mailing, which was not returned,

constituted notice to Bounce Energy of the discharge granted in Plaintiff’s Bankruptcy Case and

the replacement of the automatic stay with the discharge injunction imposed by 11 U.S.C. §524(a).

        21.     A true and correct copy of the Discharge Order is attached hereto as Exhibit “D.”


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       22.       At no time during the pendency of Plaintiff’s Bankruptcy Case did Defendant or

any other person or entity object to or dispute the details or completeness of the claim on the

Account listed on Schedule “F” to Plaintiff’s Petition.

       23.       At no time during the pendency of the Bankruptcy Case or after entry of the

Discharge Order did Plaintiff reaffirm the debt on the Account with any person or entity.

       24.       At no time during the pendency of Plaintiff’s Bankruptcy Case or after entry of the

Discharge Order was the debt on the Account declared by the Bankruptcy Court to be non-

dischargeable.

B.     During Plaintiff’s Bankruptcy Case, Defendant Engaged in Prohibited Conduct and
       Attempted to Collect on the Debt from Plaintiff.

       25.       On or about October 29, 2012, Defendant sent Plaintiff correspondence by email

informing her about a bill on the Account, demanding the “Total Amount Due $242.56” and

informing her of the “Payment Due Date 11/14/2012.” The e-mail informs Plaintiff about

“Convenient Payment Options,” including online payment, pay by phone, pay by mail or pay in

person instructions. The e-mail also warns Plaintiff to “pay by your due date to avoid any late fees

or penalties.”

       26.       A redacted copy of the email dated 10/29/12 Defendant sent to Plaintiff is attached

hereto as Exhibit “E.”

C.     After the Discharge of the Debt in Plaintiff’s Bankruptcy Case, Defendant Attempted
       to Collect the Discharged Debt from Plaintiff and Made Harassing and Offensive
       Contacts with Her.

       27.       Following the February 6, 2013 entry of the Discharge Order in Plaintiff’s

Bankruptcy Case, Defendant, or its authorized collection agent(s), attempted to collect the

discharged debt from Plaintiff and engaged in prohibited debt collection activity against her by:

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(1) making collection calls to Plaintiff; (2) sending Plaintiff collection letters, emails and notices

on the Account, demanding payment or actions to coerce or deceive her to make payment on the

discharged debt; (3) selling the debt on the Account to a third party collector, knowing such third

party would try to collect the discharged debt from Plaintiff; and (4) misrepresenting the status of

the discharged debt to Plaintiff to deceive and coerce payment from her.

       1)      After the Debt was Discharged in Plaintiff’s Bankruptcy Case, Defendant
               Made Illegal Collection Calls to her in Furtherance of its Attempts to Collect
               on the Discharged Debt.

       28.     On at least four (4) occasions after Plaintiff received her bankruptcy discharge,

Defendant made prohibited collection calls to her on her cellular phone regarding the Account,

demanding payment of the discharged debt or to coerce or deceive Plaintiff to make payment of

the discharged debt to Defendant.

       29.     On or about June 25, 2013, Defendant called Plaintiff on her cellular phone seeking

payment on the Account, even though the debt had been discharged.

       30.     On or about July 19, 2013, Defendant called Plaintiff on her cellular phone seeking

payment on the Account, even though the debt had been discharged.

       31.     On or about July 26, 2013, Defendant called Plaintiff on her cellular phone seeking

payment on the Account, even though the debt had been discharged.

       32.     On or about August 9, 2013, Defendant called Plaintiff on her cellular phone

seeking payment on the Account, even though the debt had been discharged.

       2)      After the Debt was Discharged in Plaintiff’s Bankruptcy Case, Defendant
               Assigned and Sold the Discharged Account to Third Parties to Collect the
               Discharged Debt from the Plaintiff.




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       33.     Despite the change in the legal status of the Account when Plaintiff received her

bankruptcy discharge, which, by operation of law, made the debt legally uncollectible and closed

the Account, Defendant, post-discharge, assigned the Account for collection to third parties, MKS

Financial Solutions, Inc. (“MTS”) and PTR Group, Inc. (“PTR”), and later sold it to Orion

Portfolio Services, LLC (“Orion”) for collection, who then assigned the account to Transworld

Systems, Inc. (“TSI”) for collections.

       3)      After the Debt was Discharged in Plaintiff’s Bankruptcy Case, Defendant or
               its Collection Agent(s) Sent Plaintiff Correspondences Demanding Payment or
               Actions from Plaintiff to Coerce or Deceive Her into Paying the Discharged
               Debt.

       34.     After the discharge was granted in Plaintiff’s Bankruptcy Case, Defendant and its

agents or representatives sent Plaintiff correspondences on the Account demanding her payment,

even though Defendant knew the debt on the Account had been discharged, effectively rendering

a zero balance due and owing on the Account, and the debt was no longer legally collectible from

Plaintiff and Defendant was forbidden from contacting Plaintiff for collections.

       35.     After Plaintiff received her bankruptcy discharge, Defendant hired MKS to collect

on the Account.

       36.     On or about April 3, 2013, MKS, Defendant’s duly authorized agent acting on

Defendant’s behalf, sent Plaintiff a demand and debt validation letter on the Account by email,

listing the Creditor as Defendant. The letter informs Plaintiff that Defendant placed the Account

with MKS for collection and instructs her to direct payment of the “Amount Owed: $ 582.88” or

inquiries to MKS at the provided address or phone number. The letter demands Plaintiff mail her

payment in full to MKS or call to make a payment by phone. Additionally, it informs Plaintiff that

unless she disputes the validity of the debt or any portion of it, MKS will assume it is valid. It also

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informs Plaintiff accounts that are undisputed or unpaid after the validation period, may become

part of her national credit file, which it warns may impair her ability to obtain credit in the future.

Further, it includes the Fair Debt Collections Act Mini-Miranda, stating “[t]his communication

from a debt collector is an attempt to collect a debt and any information obtained will be used for

that purpose (“Mini-Miranda Warning”).

        37.     A redacted copy of the demand letter dated April 3, 2013 MKS sent to Plaintiff is

attached hereto as Exhibit “F.”

        38.     On or about April 11, 2013, MKS sent Plaintiff a demand and debt validation letter,

identical to the letter it sent to Plaintiff by email dated April 3, 2013, again, demanding payment

on the Account for the “Amount Owed: $ 582.88.”

        39.     A redacted copy of the demand letter dated April 11, 2013 MKS sent to Plaintiff is

attached hereto as Exhibit “G.”

        40.     After Plaintiff received her bankruptcy discharge, Defendant hired PRT to collect

on the Account.

        41.     On or about July 17, 2013, PRT, Defendant’s duly authorized agent acting on

Defendant’s behalf, sent Plaintiff a demand and debt validation letter on the Account by email,

listing the Creditor as Defendant. The letter informs Plaintiff that Defendant placed the Account

with PRT for collection and instructs her to direct the “Amount Owed: $ 582.88” or inquiries to

PRT at the provided address or phone number. The letter also demands Plaintiff mail her payment

in full to PRT or call PRT to make a payment by phone. Also, it informs Plaintiff that unless she

disputes the validity of the debt or any portion of it, PRT will assume it is valid. Further, it informs

Plaintiff accounts that are undisputed or unpaid after the validation period, may become part of


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her national credit file, which it warns may impair her ability to obtain credit in the future.

Additionally, it includes the Mini-Miranda Warning.

       42.     A redacted copy of the demand letter dated July 17, 2013 that PRT sent to Plaintiff

is attached hereto as Exhibit “H.”

       4)      After the Debt was Discharged in Plaintiff’s Bankruptcy Case, Defendant Sold
               the Discharged Account to a Third-Party Debt Buyer, Aware that the Third
               Party Intended to Pursue Collection of the Discharged Debt from Plaintiff.

       43.     After July 17, 2013, Defendant, aware the debt on the Account had been discharged,

sold the discharged debt to Orion, or another third-party debt buyer, which in-turn sold the debt to

Orion, knowing such third-party would seek to collect the discharged debt from Plaintiff.

       44.     On or about December 11, 2019, TSI, collecting on the discharged debt for Orion,

sent Plaintiff a demand and debt validation letter on the discharged debt underlying the Account,

complete with a detachable, self-addressed payment coupon and return envelope, instructing

Plaintiff to “PLEASE RETURN THIS PORTION WITH YOUR PAYMENT.” The letter also

notes the creditor is Orion and demands payment of the “Balance Due: $314.71,” which it states

has been placed with TSI for collection. Also, the letter informs Plaintiff that unless she disputes

the validity of the debt or any portion of it, TSI will assume it is valid. Further, the letter informs

Plaintiff that she can also make payment online. The letter also warns Plaintiff, “IF YOU DO NOT

PAY THE DEBT, ORION PORTFOLIO SERVICES LLC MAY CONTINUE TO REPORT IT

TO CREDIT REPORTING AGENCIES AS UNPAID FOR AS LONG AS THE LAW PERMITS

THIS REPORTING.” Additionally, it includes the Mini-Miranda Warning.

       45.     A redacted copy of the demand letter dated December 11, 2019 that TSI sent to

Plaintiff is attached hereto as Exhibit “I.”


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        46.      On or about January 28, 2020, TSI sent Plaintiff a collection letter stating the

 “Balance Due: $314.71,” offering her “a quick way to resolve your account(s) at 20% off the

 current balance due in up to 6 monthly payments.” The letter informs Plaintiff that the offer is a

 “Tax Season offer” and she can put a tax refund to good use to eliminate debt, but the offer will

 expire in 45 days from the date of the letter. The letter also requests Plaintiff call TSI to try to

 establish an alternative repayment plan. It also instructs Plaintiff to mail her payment with the

 payment coupon or call TSI at the toll-free phone number provided. It also includes the Mini-

 Miranda warning.

        47.      A redacted copy of the letter dated January 28, 2020 that TSI sent to Plaintiff is

 attached hereto as Exhibit “J.”

        48.      On February 25, 2020, TSI, in furtherance of its collection efforts on the discharged

 debt from Plaintiff, reported false, negative information about the debt on the Account to

 TransUnion and Equifax credit bureaus, reporting to TransUnion that the discharged debt was for

 an “Open Account” with “a balance of $314 that was due and payable, and the account was “In

 Collection;” and reporting to Equifax the account for the discharged debt was “Open” had a

 balance of $314 and “In Collection” and that the discharged debt was incurred for “Medical and

 Health Care” purposes.

        49.      Redacted and relevant excerpts from Plaintiff’s March 2, 2020 TransUnion and

 Equifax credit reports showing Defendant’s reporting, are attached hereto as Exhibit “K” and “L,”

 respectively.

         50.     Inasmuch as there was no open and active account between Defendant, TSI and

 Plaintiff, post-discharge, and given the fact Plaintiff had no business relationships with TSI, nor


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 did she ever seek credit from TSI, it is obvious TSI’s only purpose for reporting the Account to

 the CRAs was to further its and Defendant’s illegal, post-discharge efforts to collect on the

 discharged Account.

                                V. GROUNDS FOR RELIEF - COUNT I

                TEXAS FINANCE CODE – TEXAS DEBT COLLECTION ACT (TDCA)

        51.     Plaintiff repeats, re-alleges, and incorporates by reference Paragraphs Nos. 9

 through 50, above, as if rewritten here in their entirety.

        52.     Defendant, acting itself or through its duly authorized agent or representative, has

 violated the Texas Finance Code in numerous ways, including, but not limited to, the following:

                a)      Tex. Fin. Code § 392.301(a)(8), prohibits Defendant from taking an
                        action prohibited by law. Inasmuch as the bankruptcy discharge
                        injunction prohibits anyone from attempting to collect debts
                        discharged in bankruptcy in personam the common law protects
                        Plaintiff’s privacy rights and the FCRA protects consumers credit
                        rights and proper credit reporting by creditors; Defendant’s post-
                        discharge actions against Plaintiff, including all of the above-
                        detailed sending of correspondences and making collection calls to
                        Plaintiff, threatening to report negative information to the CRAs to
                        be reported on Plaintiff’s credit reports and selling the discharged
                        debt to Orion, also violated the TDCA;

                b)      Tex. Fin. Code § 392.304(a)(8), prohibits misrepresenting the
                        character, extent, or amount of Plaintiff’s debt. Defendant
                        misrepresented to Plaintiff that the debt on the Account, which had
                        been discharged, resulting in a zero balance due and owing and
                        closing the account, was past due, owing and collectible from
                        Plaintiff in post-discharge: correspondences and collection calls to
                        Plaintiff; these were misrepresentations of the character, extent or
                        amount of the subject debt, in violation of the TDCA; and

                c)      Tex. Fin. Code § 392.304(a)(19), prohibits Defendant’s use of false
                        representations or deceptive means to collect a debt, for the reasons
                        stated in the preceding paragraphs (a and b), Defendant intentionally
                        tried to coerce or deceive Plaintiff into paying the debt, while
                        Defendant knew the debt on the Account was discharged as to
                        Plaintiff’s personal liability in her Bankruptcy Case, rendering the
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                        debt legally uncollectible from Plaintiff and forbidding collection
                        actions on it.

          53.   Under Tex. Fin. Code Ann. § 392.403, Defendant’s actions make it liable to

 Plaintiff for actual damages, statutory damages, injunctive relief, costs, and reasonable attorney's

 fees. Also, Plaintiff’s injuries resulted from Defendant’s malice, actual fraud and/or willful and

 intentional misconduct, entitling Plaintiff to punitive damages.

          54.   Because of Defendant’s conduct, or the conduct of its duly authorized agent or

 representative acting on its behalf, Plaintiff was forced to hire counsel to pursue this action, and

 Plaintiff’s recoverable damages include her reasonable attorney's fees incurred in prosecuting this

 claim.

                               VI. GROUNDS FOR RELIEF - COUNT II

                                        INVASION OF PRIVACY

          55.   Plaintiff repeats, re-alleges, and incorporates by reference Paragraphs Nos. 9

 through 50, above, as if rewritten here in their entirety.

          56.   Defendant was forbidden from attempting to collect on the discharged debt from

 Plaintiff, and Plaintiff had a reasonable and lawful expectation not to be contacted and harassed

 by Defendant, or agents and representatives acting on behalf of Defendant, in furtherance of

 Defendant’s attempts to coerce or deceive Plaintiff into paying the discharged debt. Thus,

 Defendant contacting Plaintiff through its offensive and forbidden post-discharge emails and

 correspondences and contacting her through its post-discharge collection calls, were invasions of

 Plaintiff’s privacy rights. The wrongful acts of Defendant caused injury to Plaintiff.

          57.   Plaintiff’s injuries resulted from Defendant’s malice, which entitles Plaintiff to

 recover exemplary damages pursuant to Texas Civil Practice and Remedies Code §41.003(a).

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                          VII. GROUNDS FOR RELIEF- COUNTS III AND IV

               VIOLATIONS OF THE AUTOMATIC STAY AND DISCHARGE INJUNCTION

         58.     Plaintiff repeats, re-alleges, and incorporates by reference Paragraphs Nos. 9

 through 50, above, as if set forth herein in their entirety.

         59.     At all material times, Defendant had actual knowledge of Plaintiff’s Bankruptcy

 Case and of the discharge of the debt on the Account.

         60.     Defendant failed to cease its debt collection activity on the Account and debt at

 issue after Plaintiff filed for bankruptcy protection, as evidenced by Defendant sending Plaintiff

 the subject e-mail demand letter during the pendency of her Bankruptcy Case, which was a

 violation of the automatic stay as set forth in 11 U.S.C. §362, prohibiting all collections against

 Plaintiff on pre-petition debt, including, but not limited to, the Account, while her Bankruptcy

 Case was pending.

         61.     At all post-discharge times material to this proceeding, Defendant had actual

 knowledge about the discharge of the debt as to Plaintiff’s personal liability on the Account in

 Plaintiff’s Bankruptcy Case. The totality of Defendant’s post-discharge actions at issue were

 violations of the discharge injunction and actionable under 11 U.S.C. §524(a)(1)-(3).

         62.     Defendant knew the debt had been discharged but, nevertheless, attempted to

 collect it from Plaintiff, as evidenced by Defendant’s post-discharge collection actions at issue,

 both acting itself or through its collection agent(s), including making collection calls to Plaintiff,

 sending her demand letters and emails and selling the discharged debt to a third-party debt buyer,

 knowing such collector would take in personam collection actions against Plaintiff on the

 discharged debt, which it/they did through TSI’s post-discharge sending of demand letter(s) and


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 false, derogatory credit reporting on the debt to be reported on Plaintiff’s credit reports with the

 CRA(s).

        63.     Defendant’s actions were willful acts in furtherance of its efforts to collect the

 discharged debt from Plaintiff, in violation of the discharge injunction imposed by 11 U.S.C.

 §524(a). Further, Defendant’s acts were harassing and attempts to coerce and deceive Plaintiff to

 pay the discharged debt. Defendant’s failure to comply with the aforesaid laws, despite

 Defendant’s being on notice of Plaintiff’s Bankruptcy Case and discharge and the effect of

 Plaintiff’s discharge, illustrates Defendant’s utter contempt for federal law and the discharge

 injunction.

        64.     Defendant violated the part of the Bankruptcy Court’s Automatic Stay pertaining

 to 11 U.S.C. § 362(a)(1) which “operates as a stay, applicable to all entities, of—the

 commencement or continuation, including the issuance of employment of process, of a judicial,

 administrative, or other action or proceeding against the debtor that was or could have been

 commenced before the commencement of the case under this title, or to recover a claim against

 the debtor that arouse before the commencement of the case under this title;…”, regarding

 Defendant attempting to collect on the Account from Plaintiff during her Bankruptcy Case, as

 evidenced by the collection email(s) it sent to Plaintiff, see attached Exhibit C, during the pendency

 of the Bankruptcy Case.

        65.     The actions of Defendant, or agents or representatives acting on its behalf,

 constituted harassment and coercive and/or deceptive actions taken to collect discharged debt from

 Plaintiff, in gross violation of the discharge injunction imposed by 11 U.S.C. §524(a)(1)-(3).




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         66.     Defendant knowingly and willfully violated the orders and injunctions of the

 Bankruptcy Court issued in the bankruptcy filed by Plaintiff. After this prima facie showing by

 Plaintiff, the duty falls on Defendant to show, as its only defense, a present inability to comply

 with the orders and injunctions of the Bankruptcy Court, which inability must go beyond a mere

 assertion of inability. Failing a showing by Defendant of its present inability to comply with the

 orders and injunctions of the Bankruptcy Court, Plaintiff must prevail on her claims, and

 Defendant must be held liable for knowingly and willfully violating the orders and injunctions of

 the Bankruptcy Court. Any defense put forth by Defendant in this proceeding can only constitute

 a good faith exception, as no other reasonable explanation can be made for the conduct and actions

 of Defendants. Any allegation of a good faith exception should not be allowed.

         67.     Specifically, Defendant violated the part of the Bankruptcy Court’s Discharge

 Order issued pursuant to 11 U.S.C. §524(a)(2) that “operates as an injunction against the

 commencement, or continuation of an action, the employment of process, or an act, to collect,

 recover or offset any such debt as a personal liability of the debtors, whether or not the discharge

 of such debt is waived . . . ”.

         68.     There are no exceptions under 11 U.S.C. §362, 11 U.S.C. §524, or other provisions

 of the United States Bankruptcy Code, or other applicable law that permit the conduct of Defendant

 at issue with regard to the automatic stay or discharge injunction, as stated above.

         69.

         70.     The orders and injunctions of the Bankruptcy Court cannot be waived, except by

 way of a properly filed and approved reaffirmation agreement, motion, stipulation or complaint,




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 none of which occurred here. No waiver of the orders or injunctions of the Bankruptcy Court has

 occurred.

        71.     Also, there is no requirement of mitigation on the part of Plaintiff that is relevant

 to Defendant’s violations of the orders and injunctions of the Bankruptcy Court. Any burdening

 of Plaintiff with an obligation to police the misconduct of Defendant would be a complete

 derogation of the law. It is well-settled that each party to an injunction or order of the Court is

 responsible for ensuring its own compliance with the injunction or order and for bearing the cost

 of compliance. Any attempt by Defendant to mount such a defense would constitute a collateral

 attack on the injunctions and orders of the Bankruptcy Court in this proceeding, which is

 prohibited. Any such defense put forth by Defendant in this case can only constitute a claim of

 mitigation, as no other reasonable explanation can be made for the conduct and actions of

 Defendants. No defense of failure to mitigate should be allowed.

        72.     Plaintiff has been injured and damaged by Defendant’s actions, and Plaintiff is

 entitled to recover judgment against Defendant for actual damages and punitive damages, plus an

 award of costs and reasonable attorney’s fees, for Defendant’s violations of violations of 11 U.S.C.

 §§ 362 and 524 and pursuant to the Court’s powers under 11 U.S.C. § 105.

                           VIII. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

        73.     Plaintiff will be able to show, after reasonable discovery, that all actions at issue

 were taken by employees, agents, servants, or representatives, of any type, for Defendant, the

 principal, within the line and scope of such individuals' (or entities’) express or implied authority,

 through employment, agency, or representation, including, but not limited to, MTS, PTR, Orion




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 and TSI, which imputes liability on Defendant for all such actions under the doctrine of respondeat

 superior and/or vicarious liability.

                                           IX. DAMAGES

        74.     In addition to any damages previously stated hereinabove, the conduct of Defendant

 has proximately caused Plaintiff past and future monetary loss; past and future mental distress,

 emotional anguish and a discernable injury to Plaintiff’s emotional state; and other damages,

 evidence for all of which will be presented to the jury. Moreover, dealing with the consequences

 of Defendant’s actions has cost Plaintiff time and mental energy, which are precious to her.

        75.     At all relevant times, Defendant knew, and it continues to know, that, pursuant to a

 discharge order granted by a U.S. Bankruptcy Court, discharged debts are no longer legally

 collectible, but Defendant made a corporate decision to act knowingly, willfully, maliciously, and

 contrary to its knowledge of bankruptcy law, to attempt to collect on the debt it knew had been

 discharged as a result of Plaintiff’s Bankruptcy Case.

        76.     Plaintiff believes that, after reasonable discovery in this case, she will be able to

 show that all actions taken by, or on behalf of, Defendant were conducted maliciously, wantonly,

 recklessly, intentionally, knowingly, and/or willfully, with the desire to harm Plaintiff, with the

 actual knowledge that such actions were in violation of the law.

        77.      Plaintiff believes that, after reasonable discovery, she will be able to show that

 Defendant has been involved in dozens, if not hundreds, of disputes involving complaints about

 the type of conduct at issue here; nevertheless, Defendant, intentionally and knowingly, has

 refused to correct its policies and comply with applicable laws, of which laws it is well-aware.




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          78.    Plaintiff believes that, after reasonable discovery, she will be able to show that

 Defendant has engaged in a pattern and practice of wrongful and unlawful behavior, in accordance

 with its established policies and procedures, with respect to knowingly, willfully, intentionally,

 and maliciously attempting to collect on debts discharged in bankruptcy, including, but not limited

 to, furnishing inaccurate and misleading information to the CRA’s about accounts discharged in

 bankruptcy. Accordingly, Defendant is subject to punitive damages, statutory damages, and all

 other appropriate measures necessary to punish and deter similar future conduct by Defendant.

 Moreover, Plaintiff’s injuries resulted from Defendant’s malice, and/or willful and intentional

 misconduct, entitling Plaintiff to punitive damages.

          79.    Due to Defendant’s conduct, Plaintiff was forced to hire counsel, and her damages

 include reasonable attorney's fees incurred in prosecuting her claims.

          WHEREFORE, PREMISES CONSIDERED, Plaintiff, Tricia Ann Baysinger, prays the

 Court:

          A.     Enter judgment in favor of Plaintiff and against Defendant for statutory damages,

 actual damages, costs, and reasonable and necessary attorney’s fees for Defendant’s violations of

 the TDCA, Plaintiff’s common law privacy rights, and the automatic stay and discharge injunction;

          B      Find that appropriate circumstances exist for an award of punitive damages to

 Plaintiff.

          C.     Award Plaintiff pre-judgment and post-judgment interest as allowed by law; and

          D.     Grant such other and further relief, in law or equity, to which Plaintiff might show

 she is justly entitled.




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                                               Respectfully submitted,


                                               /s/ James J. Manchee
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                                               COUNSEL FOR PLAINTIFF


                                         JURY DEMAND

        Plaintiff hereby demands a trial by jury on all issues so triable.

 April 15 ,2020                                /s/ James J. Manchee
 Date                                          James J. Manchee




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